
PER CURIAM.
We have for review the decision in Richardson v. State, 748 So.2d 1042 (Fla. 5th DCA 1999), in which the Fifth District certified the same question as did the First District in Woods v. State, 740 So.2d 20 (Fla. 1st DCA 1999):
DOES THE PRISON RELEASEE REOFFENDER PUNISHMENT ACT, CODIFIED AS SECTION 775.082(8), FLORIDA STATUTES ' (1997), VIOLATE THE SEPARATION OF POWERS CLAUSE OF THE . FLORIDA CONSTITUTION?
We have jurisdiction. See art. V, § 3(b)(4), Fla. Const.
We recently approved the First District’s decision in Woods, holding that the Prisoner Releasee Reoffender Act, as properly interpreted by the First District, does not violate separation of powers, and rejecting other constitutional challenges to the Act. See State v. Cotton, Nos. SC94996 &amp; SC95281, — So.2d -, 2000 WL 766521 (Fla. June 15, 2000) Accordingly, for the reasons expressed in Cotton, we *912approve the decision of the Fifth District in this case.
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, PARIENTE and LEWIS, JJ„ concur.
QUINCE, J., dissents with an opinion.
